Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 1 of 29 PageID: 1




Eric A. Savage, Esq. (State Bar No. 010491986)
Jillian L. Szymonifka, Esq. (State Bar No. 114492014)
LITTLER MENDELSON
A Professional Corporation
One Newark Center, 8th Floor
Newark, New Jersey 07102
973.848.4700
Attorneys for Defendant
Res-Care New Jersey, Inc.

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

LAKIA ROGERS,                                           Civil Action No. 1:21-cv-2702
                       Plaintiff,

vs.                                                         DEFENDANT’S NOTICE OF
                                                                  REMOVAL
RES-CARE, INC. d/b/a RESCARE
RESIDENTIAL SERVICES,                                             Electronically Filed
And JOHN DOES 1-10 (fictitious names of entities
and/or individuals whose identities are presently
unknown), individually, jointly, severally and/or in
the alternative,

                       Defendants.


TO:    THE CLERK AND THE HONORABLE JUDGES
       OF THE UNITED STATES DISTRICT COURT
       FOR THE DISTRICT OF NEW JERSEY

TO:    ZACHARY A. WALL, ESQ.
       WALL & LONDON LLC
       34 TANNER ST., SUITE 4
       HADDONFIELD, NEW JERSEY 08033
       Attorneys for Plaintiff

       Defendant Res-Care New Jersey, Inc. (improperly pled as “Res-Care, Inc.”)

(“Defendant”) hereby files this Notice of Removal of the above-captioned action to the United

States District Court for the District of New Jersey, from the New Jersey Superior Court, Law

Division, Burlington County, where the action is now pending, as provided by Title 28, United

States Code, Chapter 89 and states:
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 2 of 29 PageID: 2




       1.      Plaintiff Lakia Rogers (“Plaintiff”) commenced this action on or about January

14, 2021 by filing a Complaint in the Superior Court of New Jersey, Law Division, Burlington

County, captioned Lakia Rogers v. Res-Care, Inc. d/b/a ResCare Residential Service, et al

Docket No.: BUR L-000105 21 (“the State Court Action”), which is now pending in that court.

Attached as Exhibit A is a copy of Plaintiff’s Summons and Complaint.

       2.      The above documents constitute all “process, pleadings and orders” served upon

Defendant in the State Court Action, pursuant to 28 U.S.C. § 1446(a).

       3.      Defendant first received notice of the Complaint in the State Court Action on or

about January 18, 2021 when Defendant was served a copy of the Summons and Complaint.

This Notice of Removal is being filed within the time limits set by 28 U.S.C. § 1446(b).

       4.      Because the Superior Court of Burlington County, New Jersey, lies in the District

of New Jersey, this Court is the appropriate venue for removal. See 28 U.S.C. §§ 110, 1441(a).

       5.      This is a civil action over which this Court has original jurisdiction by virtue of

federal question jurisdiction granted by 28 U.S.C. § 1331.        To establish federal question

jurisdiction for removal purposes, a civil action must arise “under the Constitution, laws or

treaties of the United States.” Id.

       6.      In the State Court Action, Plaintiff alleges Family and Medical Leave Act (29

U.S.C. § 2601, et seq.) Interference in Count IV of the Complaint, which clearly arises under the

laws of the United States. See 28 U.S.C. § 1331.

       7.      This Notice of Removal is being filed in the District of New Jersey, the district

court of the United States for the district and division within which the State Court Action is

pending.

       8.      Attached hereto as Exhibit B is a copy of the Notice to Clerk of the Superior

Court of New Jersey of Filing of Notice of Removal (without exhibits), the original of which is



                                               -2-
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 3 of 29 PageID: 3




being filed with the New Jersey Superior Court Clerk, Law Division, Burlington County, as

required by 28 U.S.C. § 1446(d).

        WHEREFORE, having fulfilled all statutory requirements, Defendant removes this

action from the Superior Court of Burlington County, New Jersey, to this Court, and requests

that this Court assume full jurisdiction over this matter as provided by law. 1


                                                    LITTLER MENDELSON
                                                    A Professional Corporation


                                                    s/Eric A. Savage                __________
                                                    Eric A. Savage
                                                    Jillian L. Szymonifka
                                                    Attorneys for Defendant
                                                    Res-Care New Jersey, Inc.
Dated: February 16, 2021




1
 By filing this Notice of Removal, Defendant does not waive any defenses available to it at law, equity or
otherwise.


                                                   -3-
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 4 of 29 PageID: 4




                  EXHIBIT A
          Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 5 of 29 PageID: 5




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 22576203
Notice of Service of Process                                                                            Date Processed: 01/18/2021

Primary Contact:           Melanie Martin
                           Res-Care, Inc. d/b/a Brightspring Health Services
                           805 N Whittington Pkwy
                           Louisville, KY 40222-5186

Electronic copy provided to:                   Jalyn Hewitt

Entity:                                       Res-Care, Inc.
                                              Entity ID Number 2964224
Entity Served:                                Res-Care, Inc. d/b/a Rescare Residential Service
Title of Action:                              Lakia Rogers vs. Res-Care, Inc. d/b/a Rescare Residential Services
Matter Name/ID:                               Lakia Rogers vs. Res-Care, Inc. d/b/a Rescare Residential Services (10828596)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Burlington County Superior Court, NJ
Case/Reference No:                            BUR-L-000105-21
Jurisdiction Served:                          New Jersey
Date Served on CSC:                           01/18/2021
Answer or Appearance Due:                     35 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Zachary R. Wall
                                              856-428-1480

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 6 of 29 PageID: 6




                                                               lllllllllllJJ

                                            :       !   lill        ~!                         !
                            We're in your corner when you need us most

  ZACHARY R. WALL°                                                             34 Tanner Street, Suite 4
  RACHEL S. LONDON°•                                                           Haddonfield, Nj 08033

  ° Admitted in NJ & PA                                                            P: (856) 428-1480
                                                                                   F: (856) 428-1436
  • Admitted in DE                                                             www.-,vaandlondon.com

                                          January 15, 2021


  Via Process Service
  Res-Care, Inc. sD/B/ti ' 20-sc'``'e—   'de1t'~+-1 <SGrvr~,
  c/o Corporation Service Company r/1 '~
  100 Charles Ewing Blvd, Suite 160
  Ewing, NJ 08628



                     Re:   Lakia Rogers v. Res-Care, Inc. et al.
                     Docket Number: BUR-L-000105-21


  Dear Sir or Madam:

          Please be advised that this firm represents the Plaintiff in the above-referenced
  matter. Enclosed please fmd copies of PlaintifPs Summons Track Assignment Notice, filed
  Complaint, Case Information Sheet, First Interrogatories and Requests for Production of
  Documents to Defendants.


                                                        Very truly yours,

                                                                ~              !
                                                        Zachary R. Wall
                                                        Wall & London LLC
                                                        zwall@wallandlondon.com


  ZRW/sm
  Encs.
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 7 of 29 PageID: 7




 Zachary R. Wall, Esquire
 Atty No.: 023032007
 WALL & LONDON LLC
 34 Tanner Street, Suite 4
 Haddonfield, New Jersey 08033
 P: (856) 428-1480 F: (856) 428-1436
 E-mail: zwall@wallandlondon.com
 Attorneys for Plaint ff




 LAKIA ROGERS,                                        SUPERIOR COURT OF NEW JERSEY
                                                      LAW DIVISION
                  Plaintiff,                          BURLINGTON COUNTY

 V.                                                   CIVIL ACTION

 RES-CARE, INC d/b/a RESCARE                          DOCKET NO.: BUR-L-000105-21
 RESIDENTIAL SERVICE; and JOHN
 DOES 1-10: fictitious persons or entities;           SUMMONS
 jointly, severally and alternatively,

                  Defendants.



 From the State of New Jersey to the Defendants Named Above:

         The Plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
 Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
 this complaint, you or your attorney must file a written answer or motion and proof of service with
 the deputy clerk of the Superior Court in the county listed above within 35 days from the date you
 received this summons, not counting the date you received it. A filing fee payable to the Treasurer,
 State of New Jersey and a completed Case Information Statement (available from the deputy clerk
 of the Superior Court) must accompany your answer or motion when it is filed. You must also
 send a copy of your answer or motion to Plaintiffs attorney whose name and address appear above,
 or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you
 must file and serve a written answer or motion (with fee of $135.00 and completed Case
 Information Statement) if you want the court to hear your defense.
       Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 8 of 29 PageID: 8




                If you do not file and serve a written answer or motion within 35 days, the court may enter
        a judgment against you for the relief Plaintiff demands, plus interest and costs of suit. If judgment
        is entered against you, the Sheriff may seize your money, wages or property to pay all or part of
        the judgment.


                If you cannot afford an attorney, you may call the Legal Services office in the county where
        you live. If you do not have an attorney and are not eligible for free legal assistance, you may
        obtain a referral to an attorney by calling one of the Lawyer Referral Services.



        Dated: January 15, 2021
                                                                             /s/ Michelle M. Smith
                                                                     Michelle M. Smith
                                                                     Acting Clerk, Superior Court



       Name of defendant to be served:

               Res-Care, Inc.

        Address for service:

               Res-Care, Inc.
               c/o Corporation Service Company
               100 Charles Ewing Blvd., Suite 160
               Ewing, NJ 08628




-- -                                                     2
~         Case 1:21-cv-02702-RMB-AMD     Document
                BUR L 000105-21 01/15/2021          1 Pg
                                           4:25:17 AM  Filed
                                                         1 of 02/16/21
                                                              1 Trans ID: Page 9 of 29 PageID: 9
                                                                          LCV2021110111


y   BURLINGTON COUNTY
    SUPERIOR COURT
    49 RANCOCAS ROAD
    MT HOLLY         NJ 08060
                                                  TRACK ASSIGNMENT NOTICE
    COURT TELEPHONE NO. (609) 288-9500
    COURT HOURS 8:30 AM - 4:30 PM

                                   DATE:   JANUARY 14, 2021
                                   RE:     LAKIA ROGERS VS RES-CARE
                                   DOCKET: BUR L -000105 21

          THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 3.

         DISCOVERY IS   450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
    FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

          THE PRETRIAL JUDGE ASSIGNED IS:    HON AIMEE R. BELGARD

           IF YOU HAVE ANY QUESTIONS, CONTACT TEAM        001
    AT:   (609) 288-9500.

          IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
     CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
          PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
    WITH R.4:5A-2.
                                ATTENTION:
                                                 ATT: ZACHARY R. WALL
                                                 WALL & LONDON LLC
                                                 34 TANNER ST STE 4
                                                 HADDONFIELD      NJ 08033

    JUCCAUO
Case 1:21-cv-02702-RMB-AMD      Document
       BUR-L-000105-21 01/14/2021           1 Filed
                                  11:39:10 AM Pg 1 of02/16/21   Page
                                                      16 Trans ID:    10 of 29 PageID: 10
                                                                   LCV2021102807




  Zachary R. Wall, Esquire
  Atty. No. 023032007
  WALL & LONDON LLC
  34 Tanner Street, Suite 4
  Haddonfield, New Jersey 08033
  P: (856) 428-1480 F: (856) 428-1436
  E-mail: zwall@wallandlondon.com
  Attorneys for the Plaint ff




  LAKIA ROGERS,                                         SUPERIOR COURT OF NEW JERSEY
                                                        LAW DIVISION
                  Plaintiff,                            BURLINGTON COUNT.Y

  V.                                                    CIVIL ACTION

  RES-CARE, INC. d/b/a RESCARE                          DOCKET NO.:
  RESIDENTIAL SERVICES; and JOHN
  DOES 1-10 (fictitious names of entities
  and/or individuals whose identities are
  presently unknown), individually, jointly,            COMPLAINT & JURY DEMAND
  severally and/or in the alternative,

                  Defendant.




          The Plaintiff, LAKIA ROGERS, by way of Complaint against the Defendant, RES-CARE,

  INC. d/b/a RESCARE RESIDENTIAL SERVICES; and JOHN DOES 1-10; states as follows:

                                          INTRODUCTION

  1.      During the midst of the ongoing COVID-19 global health crisis, the corporate Defendant

          decided to fire Lakia Rodgers because she needed an eight-week medical leave to have

          surgery to repair ruptured tendon(s) in her right hand. At no time did Defendant satisfy its

          obligation of providing, or even offering, a protected leave of absence to allow its employee

          to care for her temporary disability. Fortunately, New Jersey Law provides redress for

          employees subjected to such disparate treatment, discrimination, and retaliation. Plaintiff,
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM       02/16/21
                                             Pg 2 of           Page
                                                     16 Trans ID:    11 of 29 PageID: 11
                                                                  LCV2021102807




        therefore, brings this lawsuit to expose Defendant's behavior and to seek redress for the

        unlawful treatment she suffered.

                                     NATURE OF ACTION

  2.    This is an action by the Plaintiff as a former employee of the Defendant for recovery of

        damages in the amount of lost wages, emotional distress damages, benefits, and other

        remuneration, including attorney's fees and costs, by reasons of the Defendant's violation

        of the Plaintiff s rights under statutory law pursuant to the NEW JERSEY LAW AGAINST

        DISCRIMINATION, N.J.S.A. 10:5-1, et seq. ("NJLAD") and the FAMILY AND

        MEDICAL LEAVE ACT, 29 U.S.C.A. 2601, et seq. ("FMLA").

  3.    This is an action seeking equitable and legal relief for violations of the NJLAD and FMLA

        including, but not limited to, disability discrimination, retaliation, and wrongful

        termination.

  4.    Venue is properly laid in accordance with R.4:3 2(a) and.(b) as Plaintiff's cause of action

        arose in Burlington County, New Jersey and the corporate Defendant conducted business

        in and owned and/or operated a commercial enterprise in Mount Laurel, New Jersey.

                                           THE PARTIES

  5.    Upon information and belief, Defendant RES-CARE, INC. d/b/a RESCARE

        COMMUNITY LIVING (hereafter referred to as "ResCare" and/or "Defendant"), is a

        foreign profit corporation headquartered in Louisville, Kentucky.

  6.    At all relevant times herein, ResCare maintained a place of business in Mount Laurel, New

        Jersey and employed the Plaintiff within New Jersey.

  7.    ResCare (operating as BrightSpring Health Services) provides support services for people

        with physical and mental disabilities. ResCare has residential and nonresidential facilities
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM Pg 3 of02/16/21   Page
                                                     16 Trans ID:    12 of 29 PageID: 12
                                                                  LCV2021102807




        in more than 40 states and employs more than 40,000 workers nationwide.

  8.    Upon information and belief, Defendant ResCare is responsible and vicariously liable for

        the actions of any and all disability leave administrators, personnel entities, and human

        resources entities which participated in the adverse employment actions alleged herein

        (pled as "John Does 1-10").

  9.    Plaintiff LAKIA ROGERS ("Ms. Rogers" and/or "Plaintiffl') was employed by Defendant

        as a Direct Support Professional, from on or around January 2015 until she was unlawfully

        terminated on or around October 30, 2020.

  10.   Plaintiff resides in New Jersey.

                     FACTS COMMON TO ALL CAUSES OF ACTION

  11.   While working for ResCare, Ms. Rogers developed disabling conditions in her hand,

        including, but not limited to, tendon rupture and tendonitis. Her injury occurred at work

        and was the specific result of work.

  12.   Due to ResCare work requirements, Plaintiff was forced to physically lift patients in

        wheelchairs because Defendant's facility lacked adequate ramps.

  13.   Plaintiff's hand suffered nerve damage as a result.

  14.   Before Defendant prevented her from continuing with his career, the Plaintiff was

        performing her job duties to the reasonable expectation of her employer. In fact, the

        Plaintiff had received uniformly excellent performance evaluations during her almost five

        (5) years of loyal employment with ResCare.

  15.   Despite her exemplary employment record, Ms. Rogers became a target of Defendant after

        she suffered a workers' compensation related hand injury and required a medical leave of

        absence.
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM Pg 4 of02/16/21   Page
                                                     16 Trans ID:    13 of 29 PageID: 13
                                                                  LCV2021102807




  16.   Ms. Rogers asked her employer to file a workers' compensation claim for her injury.

  17.   Defendant refused to open a workers' compensation claim for Ms. Rogers and told her that

        she had to file a claim with New Jersey temporary disability instead. T'his was an intentional

        misrepresentation by Defendant.

  18.   Plaintiff's doctor ordered a medical leave from September 17, 2020 to November 16, 2020.

  19.   Plaintiff visited her physician on October 16, 2020 and leave was extended to December

        14, 2020.

  20.   Ms. Rogers asked her employer for a temporary leave of absence to treat her disability and

        allow her to recover from surgery.

  21.   Ms. Rogers filled out all required applications and submitted medical certifications

        verifying her need for leave.

  22.   Defendant ignored the documented request for protected leave and denied the leave

        request.

  23.   Defendant told Ms. Rogers she only had "3 weeks" of leave entitlement and told her that

        she had to come back to work in October. Defendant unilaterally issued a"return to work

        date" of October 29, 2020. This was an intentional misrepresentation by Defendant.

  24.   Defendant's actions were in direct contrast to the submitted leave application and medical

        certification.

  25.   Plaintiff was informed of her employment termination during the midst of a disability

        leave.

  26.   The termination was in direct retaliation for Ms. Roger's need for a temporary medical

        leave of absence because of a worker's compensation related disability.

  27.   Plaintiff suffered a disabling hand injury.
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM Pg 5 of02/16/21   Page
                                                     16 Trans ID:    14 of 29 PageID: 14
                                                                  LCV2021102807




  28.   Plaintiff's physician recommended surgery to treat her hand condition(s).

  29.   Defendant was aware of Ms. Roger's disability and need for a temporary medical leave of

        absence.

  30.   Plaintiff provided her employer with all required and requested medical documentation

        verifying her disability and need for a temporary leave of absence.

  31.   Plaintiff provided Defendant with an anticipated return-to-work date.

  32.   Plaintiff maintained communication with Defendant regarding the need for leave.

  33.   Defendant refused Ms. Rogers' request for a reasonable accommodation and terminated

        her for a reason directly related to her disability.

  34.   Despite PlaintifPs actions to protect her job, Defendant terminated Ms. Rogers on

        October 20, 2020.

  35.   Defendant's decision to terminate was motivated by Plaintiff's disability and need for an

        accommodation.

  36.   Defendant treated Ms. Rogers differently, and less favorably, than non-disabled

        employees.


                               COUNT ONE -
        VIOLATION OF THE NEW JERSEY LAW AGAINST DISCRINIINATION,
                           N.J.S.A.10:5-12, et se9.
              DISCRIMINATION AND WRONGFUL TERMINATION
                       ON THE BASIS OF DISABILITY

  37.   The Plaintiff repeats, reiterates and incorporates by reference all of the allegations and

        counts made in the previous Counts and paragraphs of this Complaint as if set forth herein

        at length.

  38.   The Defendant's actions described above constitute disability discrimination and wrongful

        termination in violation of the NJLAD.
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM       02/16/21
                                             Pg 6 of           Page
                                                     16 Trans ID:    15 of 29 PageID: 15
                                                                  LCV2021102807




  39.    The decision to terminate Plaintiff s employment was influenced and/or motivated by Ms.

         Rogers' temporarily disabling conditions.

  40.    The mistreatment and disability discrimination suffered by the Plaintiff, as described above

          in the preceding facts and paragraphs, culminated in Defendant terminating Plaintiff.

  41.    The actions taken against the Plaintiff, and the conduct complained of by the Plaintiff,

         would not have occurred but for Plaintiff s disability.

  42.    As a result of the discriminatory acts of the Defendant, the Plaintiff lost salary, job

         opportunities, advancement opportunities, and other pecuniary losses.

  43.    As a direct and proximate result of the discriminatory and outrageous actions of the

         Defendant, the Plaintiff has suffered severe emotional distress, humiliation, and damage to

         reputation, both professionally and personally.

  44.    The Defendant's acts were performed with malice and reckless indifference to the

         Plaintiff's protected rights.

  45.    The willful indifference and participation of ResCare upper management creates liability

         against Defendant.

  46.    The willful and deliberate discriminatory acts of the Defendant, including management,

         were outrageous, and beyond all bounds of human decency, thus justifying the imposition

         of punitive damages.

         WHEI2EFORE, the Plaintiff demands judgment against the Defendant for harm suffered

  in violation of the NJLAD as follows: Reinstatement of employment and all benefits; back pay

  and benefits; front pay and benefits; compensatory damages; consequential damages; punitive

  damages; prejudgment interest and enhancements to off-set negative tax consequences; any and

  all attorneys' fees, expenses and/or costs, including, but not limited to, court costs, expert fees and
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM Pg 7 of02/16/21   Page
                                                     16 Trans ID:    16 of 29 PageID: 16
                                                                  LCV2021102807




  all attomeys' fees incurred by Plaintiff in the prosecution of this suit (including enhancements

  thereof required to off-set negative tax consequences and/or enhancements otherwise permitted

  under law); such other relief as may be available pursuant to the NJLAD and which the Court

  deems just and equitable; ordering Defendant to take appropriate corrective action to stop and

  prevent retaliation at the workplace; ordering Defendant to take appropriate corrective action to

  stop and prevent harassment at the workplace; ordering Defendant to undergo anti-discrimination

  training; ordering Defendant to undergo anti-retaliation training; ordering Defendant to undergo

  anti-harassment training; ordering Defendant to undergo workplace civility training; ordering

  Defendant to undergo bystander intervention training; ordering Defendant to engage a research

  organization to assess the effectiveness of their anti-discrimination training; ordering Defendant

  to engage a research organization to assess the effectiveness of their anti-retaliation training;

  ordering Defendant to engage a research organization to assess the effectiveness of their anti-

  harassment training; ordering Defendant to engage a research organization to assess the

  effectiveness of their workplace civility training; ordering Defendant to engage a research

  organization to assess the effectiveness of their bystander intervention training; ordering

  Defendant to identify an appropriate professional to investigate any future complaints of

  discrimination; ordering Defendant to identify an appropriate professional to investigate any future

  complaints of harassment; ordering Defendant to identify an appropriate professional to investigate

  any future complaints of retaliation; and such other relief as may be available and which the Court

  deems just and equitable.
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM Pg 8 of02/16/21   Page
                                                     16 Trans ID:    17 of 29 PageID: 17
                                                                  LCV2021102807




                              COUNT TWO -
        VIOLATION OF THE NEW JERSEY LAW AGAINST DISCRIMINATION
                           N.J.S.A. 10:5-1, et seg.:
            FAILURE TO PROVIDE REASONABLE ACCONiMODATION

  47.   The Plaintiff repeats, realleges, and incorporates by reference each and every allegation

        contained in the previous paragraph.and Count of this Complaint as if fully set forth herein.

  48.   Prior to her termination, Ms. Rogers had performed her job duties to the reasonable

        expectation of her employer.

  49.   Plaintiff specifically requested the reasonable accommodation that she be provided with a

        temporary leave of absence.

  50.   Despite Plaintiffls need for a reasonable accommodation, the Defendant refused to make

        any attempt to engage in an interactive process.

  51.   The requested accommodations clearly did not pose any undue hardship to Defendant.

  52.   Defendant failed to make a good faith effort to provide Plaintiff with reasonable

        accommodations.

  53.   Defendant violated the New Jersey Law Against Discrimination by refusing to reasonably

        accommodate the Plaintiff and by terminating her employment.

  54.   The discriminatory actions against the Plaintiff would not have occurred but for the .fact

        that she was disabled.

  55.   The alleged allegations were outrageous and beyond all bounds of human decency,

        justifying the imposition of punitive damages against Defendant.

  56.   Defendant's acts were performed with malice and a reckless indifference to Plaintiff's

        protected rights.

  57.    The willful indifference and actual participation by ResCare management creates liability

         against the corporate Defendant.                                                  ~~.•   .     —r—~t'x~az~:
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Filed
                                 11:39:10 AM Pg 9 of02/16/21   Page
                                                     16 Trans ID:    18 of 29 PageID: 18
                                                                  LCV2021102807




  58.    Upon information and belief, there may be other John Does, to be identified through

         discovery, participated in or made decisions to discriminate against the Plaintiff. These

         John Does may be later added as named parties.

  59.    As a result of Defendant' intentional and outrageous actions toward the Plaintiff, Ms.

         Rogers has suffered, and continues to suffer, embarrassment, humiliation, emotional

         distress, reputational, and other monetary injuries.

         WHEREFORE, the Plaintiff demands judgment against the Defendant for harm suffered

  in violation of the NJLAD as follows: Reinstatement of employment and all benefits; back pay

  and benefits; front pay and benefits; compensatory damages; consequential damages; punitive

  damages; prejudgment interest and enhancements to off-set negative tax consequences; any and

  all attorneys' fees, expenses and/or costs, including, but not limited to, court costs, expert fees and

  all attorneys' fees incurred by Plaintiff in the prosecution of this suit (including enhancements

  thereof required to off-set negative tax consequences and/or enhancements otherwise permitted

  under law); such other relief as may be available pursuant to the NJLAD and which the Court

  deems just and equitable; ordering Defendant to take appropriate corrective action to stop and

  prevent retaliation at the workplace; ordering Defendant to take appropriate corrective action to

  stop and prevent harassment at the workplace; ordering Defendant to undergo anti-discrimination

  training; ordering Defendant to undergo anti-retaliation training; ordering Defendant to undergo

  anti-harassment training; ordering Defendant to undergo workplace civility training; ordering

  Defendant to undergo bystander intervention training; ordering Defendant to engage a research

  organization to assess the effectiveness of their anti-discrimination training; ordering Defendant

  to engage a research organization to assess the effectiveness of their anti-retaliation training;

  ordering Defendant to engage a research organization to assess the effectiveness of their anti-
Case 1:21-cv-02702-RMB-AMD
      BUR-L-000105-21 01/14/2021Document   1 Pg
                                 11:39:10 AM  Filed 02/16/21
                                                 10 of           Page
                                                       16 Trans ID:    19 of 29 PageID: 19
                                                                    LCV2021102807




  harassment training; ordering Defendant to engage a research organization to assess the

  effectiveness of their workplace civility training; ordering Defendant to engage a research

  organization to assess the effectiveness of their bystander intervention training; ordering

  Defendant to identify an appropriate professional to investigate any future complaints of

  discrimination; ordering Defendant to identify an appropriate professional to investigate any future

  complaints of harassment; ordering Defendant to identify an appropriate professional to investigate

  any future complaints of retaliation; and such other relief as may be available and which the Court

  deems just and equitable.

                             COUNT THREE -
            WRONGFUL TERNIINATION IN VIOLATION OF PUBLIC POLICY
                        (PIERCE AND LALLY CLAIM)

  60.    The Plaintiff repeats, realleges, and incorporates by reference each and every allegation

         contained in the previous paragraphs and Counts, as if fully set forth herein.

  61.    There exists a common law cause of action for civil redress for a retaliatory termination

         for filing for workers' compensation benefits that is specifically declared unlawful under

         N.J.S.A. 34:15-39 and 39.2., Lally v. Copyqraphics, 173 N.J. Super. 162, 179 (App. Div.

         1980), affd 85 N.J.668, 670 (1981).

  62.    Public policy of New Jersey provides that workers who are injured in the course of their

         duties should have their jobs protected to the extent reasonably possible without causing

         undue hardship to the employer.

  63.    By terminating the Plaintiff while she was out on leave andlor her ability to perform her

         job was affected by a workers' compensation approved work-related injury, Defendant

         violated New Jersey public policy.

  64.    By terminating the Plaintiff in retaliation for filing a workers' compensation claim violates
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Pg
                                 11:39:10 AM Filed 02/16/21
                                                11 of          Page
                                                      16 Trans ID:   20 of 29 PageID: 20
                                                                   LCV2021102807




        New Jersey public policy.

  65.   New Jersey common law provides that an employee has a private cause of action where an

        employer discharges an employee contrary to a clear mandate of public policy. Pierce v.

        Ortho Pharm. Corp., 84 N.J. 58 (1980).

  66.   The Defendant, by their foregoing described actions of terminating the Plaintiff, have

        retaliated against the Plaintiff and denied the Plaintiff opportunities for employment in

        violation of common law as set forth in Pierce v. Ortho Pharm. Corp., 84 N.J. 58 (1980)

        and Lally v. Copygraphics, 173 N.J. Super. 162, 179 (App. Div. 1980), affd 85 N.J. 668

        (1981).

  67.   It is a clear mandate of public policy that employees who have suffered serious and

        disabling injuries in the course of their employment should not be obstructed or deterred

        in their pursuit of claims for benefits under the Workers' Compensation Act.

  68.   The Plaintiff complied with public policy by filing a claim for workers' compensation

        benefits for his serious injury and complying with treatment. As a direct result, he was

        discharged by the Defendant in clear violation of common law.

        WHEREFORE, the Plaintiff demands judgment against the Defendant, jointly, severally,

        and alternatively, for compensatory damages, including damages for emotional distress,

         loss of reputation and other personal injury, and consequential damages, punitive damages,

        statutory damages, enhancement for tax liability, cost of suit, attorney's fees and any other

         relief that Court deems just.
Case 1:21-cv-02702-RMB-AMD
      BUR-L-000105-21 01/14/2021Document   1 Pg
                                 11:39:10 AM Filed 02/16/21
                                                12 of           Page
                                                      16 Trans ID:   21 of 29 PageID: 21
                                                                   LCV2021102807




                                      COUNT FOUR —
             VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
          29 U.S.C. 2601, et al.: INTERFERENCE & WRONGFUL DISCHARGE
  69.   The Plaintiff repeats, realleges, and incorporates by reference each and every allegation

        contained in the previous paragraph and Count of this Complaint as if fully set forth herein.

  70.   During the Plaintiffls employment with ResCare, she required and requested a medical

        leave of absence.

  71.   Despite repeated attempts to protect her employment, Plaintiff was terminated in retaliation

        for her needing a medical leave.

  72.   The Plaintiff had properly advised her employer of her medical condition and provided

        documentation from her doctor that she would be requiring a leave.

  73.   The FMLA makes it unlawful for any employer to interfere with, restrain, or otherwise

        deny any right provided by that Act.

  74.   Defendant failed to advise Plaintiff of her right to take a protected medical leave under the

        FMLA.

  75.   At the relevant time, the Defendant employer had employed fifty (50) or more employees

        in at least twenty (20) weeks of the preceding year.

  76.   At the relevant time, the Defendant employer had fifty (50) or more employees within

        seventy-five (75) miles of the Plaintiffls work location.

  77.   The Plaintiff had worked in excess of 1,250 hours for the Defendant employer during the

        12 months preceding her need for FMLA leave.

  78.   The Defendant employer willfully violated the FMLA by terminating the Plaintiff without

        even providing her with the opportunity to apply for a FMLA leave.

  79.   Upon information and belief, there may be other John Does, to be identified through
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Pg
                                 11:39:10 AM Filed 02/16/21
                                                13 of           Page
                                                      16 Trans ID:   22 of 29 PageID: 22
                                                                   LCV2021102807




         discovery, who participated in or made decisions to discriminate against the Plaintiff.

         These John Does may be later added as named parties.

  80.    The alleged actions were outrageous and beyond all bounds of human decency, justifying

         the imposition of punitive damages against all parties.

  81.    The acts alleged herein were performed with malice and reckless indifference to the

         Plaintiff's protected rights.

  82.    As a result of the Defendant's willful and intentional outrageous actions toward the

         Plaintiff, as detailed in the previous paragraphs and Counts of this Complaint, the Plaintiff

         has suffered, and continues to suffer, extreme emotional distress, anxiety, embarrassment,

         humiliation, monetary, emotional, reputational and other personal injuries.

         WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

  damages, including damages for emotional distress, physical injury, loss of reputation and other

  personal injury, back pay, front pay, reinstatement with full seniority and benefits, consequential

  damages, pre- and post- judgement interest, enhancement for tax consequences, reasonable

  attorney's fees, costs of suit, and any other relief this Court deems just.

                                    COLINT FIVE — JOHN DOES

  83.    The Plaintiff repeats, realleges, and incorporate by reference each and every allegation

          contained in the previous paragraphs and Counts as if fully set forth herein.

  84.    Although the Plaintiff believes that the acts complained of were performed or caused by

          the named Defendant, the Plaintiff cannot be certain that the named Defendant are the only

          person(s) or entity(ies) liable for the acts complained of as set forth herein. Therefore, the

          Plaintiff has named John Does 1- 10, fictitious persons or legal entities as Defendant(s) to

          this action.
Case 1:21-cv-02702-RMB-AMD
      BUR-L-000105-21 01/14/2021Document   1 Pg
                                 11:39:10 AM Filed 02/16/21
                                                14 of           Page
                                                      16 Trans ID:   23 of 29 PageID: 23
                                                                   LCV2021102807




  85.    As such, the terms "Defendant" or "Defendant" as used in all of the above Counts and

          paragraphs should therefore be defined and read as "Defendant(s) and/or John Doe(s)".

          WHEREFORE, the Plaintiff demands judgment against the Defendant and John Does 1-

  10, jointly, severally, and alternatively, for such sums as would reasonably and properly

  compensate the Plaintiff in accordance with the laws of the State of New Jersey, together with

  interest and costs of suit.

                                                     By:      /s/ Zachary R. Wall
                                                             Zachary R. Wall, Esquire
                                                             WALL & LONDON LLC
                                                             Attorneys for the Plaintiff
  DATED: January 14, 2021
Case 1:21-cv-02702-RMB-AMD     Document
      BUR-L-000105-21 01/14/2021           1 Pg
                                 11:39:10 AM Filed 02/16/21
                                                15 of           Page
                                                      16 Trans ID:   24 of 29 PageID: 24
                                                                   LCV2021102807




                                             Alil.~`/~~1►~ ~~►i7

          Plaintiff demands trial by jury as to all of the triable issues of this complaint, pursuant to

  R. 1:8-2(b) and R. 4:35-1(a).



                                DESIGNATION OF TRIAL COUNSEL

          Pursuant to the provisions of Rule 4:25-4, the Court is advised that Zachary R. Wall,

  Esquire, is hereby designated as trial counsel.



                            CERTIFICATION OF NO OTHER ACTIONS

          Pursuant to Rule 4:5-1, it is stated that the matter in controversy is not the subject of any

  other action pending in any other court or of a pending arbitration proceeding to the best of our

  knowledge or belief. Also, to the best of our belief, no other action or arbitration proceeding is

  contemplated. Further, other than the parties set forth in this pleading, we know of no other parties

  that should be joined in the above action. In addition, we recognize the continuing obligation of

  each party to file and serve on all parties and the Court an amended certification if there is a change

  in the facts stated in this original certification.



                                                          By:      _/s/ Zachga R. Wall
                                                                   Zachary R. Wall, Esquire
                                                                   WALL & LONDON LLC
                                                                   Attorneys for the Plaintiff
  DATED: January 14, 2021
Case 1:21-cv-02702-RMB-AMD
      BUR-L-000105-21 01/14/2021Document   1 Pg
                                 11:39:10 AM Filed 02/16/21
                                                16 of           Page
                                                      16 Trans ID:   25 of 29 PageID: 25
                                                                   LCV2021102807




                                  NOTICE REGARDING NON-
                                 DESTRUCTION OF EVIDENCE

         Please be advised and noticed that the Defendant(s) should refrain from destroying,
  disposing or altering any potential evidence in its possession which would relate in any way to this
  matter. Please also be advised and noticed that this includes any and all electronic records,
  including but not limited to the hard drives on any and all computers and/or servers. To that end:


  A.     The Defendant(s) should not initiate any procedures which would alter any active, deleted,
  or fragmented files. Such procedures may include but are not limited to: storing (saving) newly
  created files to existing drives and diskettes; loading new software, such as application programs;
  running data compression and disk defragmentation (optimization) routines; or the use of utility
  programs to permanently wipe files, disks or drives.


  B.     The Defendant(s) should stop any rotation, alteration, and/or destruction of electronic
  media that may result in the alteration or loss of any electronic data. Backup tapes and disks should
  be pulled from their rotation queues and be replaced with new tapes.


  C.     The Defendant(s) should not alter and/or erase active files, deleted files, or file fragments
  on any electronic media that may have any relation to this matter.


  D.     The Defendant(s) should not dispose of any electronic media storage devices replaced due

  to failure, upgrade, and/or lease expiration that may contain electronic data having any relation to

  this matter.

                                                         By:     /s/ Zachary R. Wall
                                                                Zachary R. Wall, Esquire
                                                                WALL & LONDON LLC
                                                                Attorneys for the Plaintiff
  DATED: January 14, 2021
Case 1:21-cv-02702-RMB-AMD     Document
       BUR-L-000105-21 01/14/2021          1 Filed
                                  11:39:10 AM      02/16/21
                                              Pg 1 of           Page
                                                      1 Trans ID:    26 of 29 PageID: 26
                                                                  LCV2021102807




                                                  Civil Case Information Statement
    Case Defails: BURLINGT.ON Civil. Part_Docket# L-000105-21.

  Case Caption: LAKIA ROGERS VS RES-CARE, INC.                                                                                 Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
  Case Initiation Date: 01/14/2021                                                                                             Document Type: Complaint with Jury Demand

  Aftorney Name- ZACHARY R WALL                                                                                                Jury Demand: YES - 6 JURORS
  Firm Name: WALL & LONDON LLC                                                                                                 Is this a professional_malpractice case? NO
  Address: 34 TANNER ST STE 4                                                                                                  Related cases pending: NO
  HADDONFIELD NJ 08033                                                                                                         If yes, list docket numbers:

  Phone:8564281480                                                                                                             Do you anticipate adding any parties (arising out of same
  Name of Party: PLAINTIFF : LAKIA ROGERS                                                                                      transaction or occurrence)? NO
  Name of Defendant's Primary Insurance Company
                                                                                                                               Are sexual abuse claims alleged by: LAKIA ROGERS? NO
  (if known): Unknown


 ~...._.........._........_._.:.._..:. . .._.._,.._. . .. ......... : .:.__. _,,._.. ...~... ._....,_. .,..._..__
                                                                                                        .           ____ _.:__ v.._._~.. _......_...:._......,...:..... .. __....__....._:.._......:.....~...__._::.:...._......._.__.   ,.
                THE INFORIVIATION
             _:..............__....... .._......._. __._...... _._. PROVI..DED
                                                                     ._.       ON
                                                                                _..THIS     FORM
                                                                                   _.._ ........._ _.. _._ C,al.~fNOT;:BE:I~i'i'RODLTCED              INTQ
                                                                                                                    _ ~ .. .... ..... ~... ._ ~ ... ....._._..      EVIDENCE
                                                                                                                                                               ._.....~ ....v_ _ . _.                                                         .
                                               CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




    Do parties have a current, past, or recurrent relationship? YES

    If yes, is that relationship: Employer/Employee

    Does the statute governing this case provide for payment of fees by the losing party? YES

    Use this space to alert the court to any special case characteristics that may warrant individual
    management or accelerated disposition:



    Do you or your client need any disability accommodations? NO
           If yes, please identify the requested accommodation:



    Will an interpreter be needed? NO
             If yes, for what language:


    Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO



    I certify that confidential personal identifiers have been redacted from documents now submitted to the
    court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

    01/14/2021                                                                                                                                                                                   /s/ ZACHARY R WALL
    Dated                                                                                                                                                                                                                            Signed
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 27 of 29 PageID: 27




                   EXHIBIT B
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 28 of 29 PageID: 28




Eric A. Savage, Esq. (State Bar No. 010491986)
Jillian L. Szymonifka, Esq. (State Bar No. 114492014)
LITTLER MENDELSON
A Professional Corporation
One Newark Center, 8th Floor
Newark, NJ 07102
973.848.4700
Attorneys for Defendant
Res-Care New Jersey, Inc.

LAKIA ROGERS,                                           SUPERIOR COURT OF NEW JERSEY
                                                        LAW DIVISION: BURLINGTON COUNTY
                      Plaintiff,
                                                        DOCKET NO. BUR-L-000105-21
vs.

RES-CARE, INC. d/b/d RESCARE                                              Civil Action
RESIDENTIAL SERVICE,
And JOHN DOES 1-10,                                        NOTICE OF FILING OF NOTICE OF
                                                                     REMOVAL
                      Defendants.
                                                                      Electronically Filed



TO:    Clerk, Superior Court of New Jersey
       Law Division, Burlington County
       49 Rancocas Rd
       Mt. Holly, N.J. 08060


       PLEASE TAKE NOTICE that, on February 16, 2021, Defendant Res-Care New Jersey,

Inc. (improperly pled as “Res-Care, Inc.”) (“Defendant”) filed a Notice of Removal of the above-

captioned action in the United States District Court for the District of New Jersey. Attached

hereto as Exhibit A is a copy of the Notice of Removal of this case. Pursuant to 28 U.S.C.

§1446(d), the filing of the Notice of Removal in the United States District Court for the District

of New Jersey, together with the filing of a copy of the Notice of Removal with this Court,

effects the removal of this action, and this Court may proceed no further unless and until the

action is remanded.
Case 1:21-cv-02702-RMB-AMD Document 1 Filed 02/16/21 Page 29 of 29 PageID: 29




                                     LITTLER MENDELSON
                                     A Professional Corporation



                                     s/Eric A. Savage
                                     Eric A. Savage
                                     Jillian L. Szymonifka
                                     Attorneys for Defendant
                                     Res-Care New Jersey, Inc.
Dated: February 16, 2021




                                     -2-
